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                                                             10
                                                             11                        UNITED STATES DISTRICT COURT
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                          410 West Arden Avenue, Suite 203




                                                                                      CENTRAL DISTRICT OF CALIFORNIA
                              Glendale, California 91203




                                                             12
                                                             13   JEANNIE MONARREZ individually,             Case No. 2:21-cv-03596-JWH(PLAx)
                                                                  and on behalf of other members of the
                                                             14   general public similarly situated;         Honorable John W. Holcomb
                                                             15         Plaintiff,                           PLAINTIFF’S NOTICE OF MOTION
                                                                        vs.                                  AND MOTION TO REMAND
                                                             16                                              PURSUANT TO 28 U.S.C. § 1447;
                                                                  CENTERRA GROUP, LLC, an                    MEMORANDUM OF POINTS AND
                                                             17   unknown business entity; CENTERRA          AUTHORITIES IN SUPPORT
                                                                  SERVICES INTERNATIONAL, INC.,              THEREOF
                                                             18   an unknown business entity;
                                                                  WACKENHUT SERVICES, INC., an
                                                             19   unknown business entity; G4S                Date:                July 2, 2021
                                                                  GOVERNMENT SOLUTIONS, INC.,                 Time:                9:00 a.m.
                                                             20   an unknown business entity; and DOES        Courtroom:           2
                                                                  1 through 100, inclusive,
                                                             21
                                                                        Defendants.                           Complaint Filed:     February 24, 2021
                                                             22                                               Trial Date:          None Set
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                                                                             PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND PURSUANT TO
                                                                        28 U.S.C. § 1447; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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                                                              1              TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                              2              PLEASE TAKE NOTICE that on July 2, 2021 at 9:00 a.m., or as soon
                                                              3   thereafter as may be heard in Courtroom 2 of the George E. Brown, Jr. Federal
                                                              4   Building and United States Courthouse, 3470 12th St., Riverside, CA 92501,1
                                                              5   Plaintiff Jeannie Monarrez (“Plaintiff”) will and hereby does move for an order
                                                              6   remanding this action to the Superior Court for the County of Los Angeles.
                                                              7              Plaintiff moves for remand pursuant to 28 U.S.C. § 1447 on the ground that
                                                              8   this Court does not have removal jurisdiction over this case. Defendants Centerra
                                                              9   Group, LLC, Centerra Services International, Inc., Wackenhut Services, Inc., and
                                                             10   G4S Government Solutions, Inc., (collectively, “Defendants”) wrongly removed
                                                             11
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                                                                  this action from state court pursuant to the Class Action Fairness Act of 2005,
                              Glendale, California 91203




                                                             12   codified at 28 U.S.C. § 1332(d) (“CAFA”). This Court lacks subject matter
                                                             13   jurisdiction because Defendants failed to prove by a preponderance of the evidence
                                                             14   that the total amount in controversy exceeds the sum of $5,000,000 as required for
                                                             15   CAFA jurisdiction.
                                                             16              Even if this Court were to find that Defendants did show the amount in
                                                             17   controversy exceeds that figure, this case must be remanded because as alleged,
                                                             18   and as not challenged by Defendant on removal, all of the putative class members
                                                             19   reside in California. Plaintiff seeks remand to the Superior Court for the County of
                                                             20   Los Angeles, where this case rightfully belongs.
                                                             21              //
                                                             22              //
                                                             23              //
                                                             24              //
                                                             25              //
                                                             26              //
                                                             27
                                                                  1
                                                                      Zoom Link available on the Court’s website, Webinar ID: 161 801 9947/ Passcode: 133178.
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                                                                                  PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND PURSUANT TO
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                                                              1         This motion is made following Plaintiff’s counsel’s meet and confer letter of
                                                              2   May 24, 2021 to Defendant’s counsel, as well as subsequent correspondence in the
                                                              3   following days, pursuant to Local Rule 7-3. Plaintiff’s Motion is based on this
                                                              4   Notice, the Memorandum of Points and Authorities, any documents Plaintiff may
                                                              5   subsequently file, all other pleadings and papers on file in this action, and any oral
                                                              6   argument or other matter that may be considered by the Court.
                                                              7   Dated: May 28, 2021                       LAWYERS for JUSTICE, PC
                                                              8
                                                              9                                             /s/ Jenay Younger
                                                             10                                             Jenay Younger
                                                                                                            Attorneys for Plaintiff
                                                             11
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                                                                                 PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND PURSUANT TO
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                                                              1   I.     INTRODUCTION
                                                              2         Defendants’ removal lacks evidentiary support. Despite having access to
                                                              3   employment records for the putative class, Defendants fail to demonstrate that
                                                              4   their amount in controversy calculations are based on actual figures or even
                                                              5   rational assumptions. Without any evidence regarding the number of meal period
                                                              6   violations, the number of rest period violations, the number of waiting time
                                                              7   penalties, the number of inaccurate wage statements, the amount of unpaid
                                                              8   overtime, or the amount of unreimbursed business expenses, Defendants simply
                                                              9   calculated the average hours putative class members (“PCMs”) worked per day
                                                             10   and assumed that each PCM worked 12 minutes of overtime and 12 minutes off-
                                                             11   the-clock each day. Similarly, Defendants assume a 100% violation rate for
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                              Glendale, California 91203




                                                             12   waiting time penalties, and Defendant assumes a 100% violation rate for
                                                             13   inaccurate pay stubs.
                                                             14         Plaintiff’s complaint does not support these assumptions. Nor do
                                                             15   Defendants present any evidence of their own to provide even a rational basis in
                                                             16   support of these assumptions. Defendants’ Notice of Removal is in fact based on
                                                             17   a misinterpretation of case law, a misreading of relevant statutes, and on
                                                             18   assumptions conjured from thin air. Moreover, prior rulings from this Court do
                                                             19   not dictate his ruling on the present motion, as the Court rules on each case
                                                             20   independently and Defendants’ notice of removal is unique in each case.
                                                             21         The reality is that the Ninth Circuit Court of Appeals has made it clear that,
                                                             22   in a removal jurisdictional dispute, a removing party must support all assertions
                                                             23   about the amount in controversy with summary-judgment-type evidence. In
                                                             24   contrast, Defendants’ calculations rely on blank assumptions and conjecture.
                                                             25   During the meet and confer process pertaining to this motion, Defendants’
                                                             26   proffered what they said would be a declaration that is indicative of how
                                                             27   Defendants’ will oppose this motion. This proposed declaration does indeed
                                                             28                                            1

                                                                             PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND PURSUANT TO
                                                                        28 U.S.C. § 1447; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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                                                              1   contain many numbers, relating to workweeks, employees, etc., but nothing that
                                                              2   could provide reasonable support for the violation rates that Defendants are
                                                              3   claiming. It seems possible that in prior cases put before this Court, 2 counsel for
                                                              4   the Plaintiffs did not sufficiently make clear that Defendants are bombarding the
                                                              5   Court with numbers that may seem impressive, but which are completely
                                                              6   irrelevant to the key issue at hand: how many violations per week, or per day, are
                                                              7   reasonable for Defendants to assume based upon Plaintiff’s complaint.
                                                              8           Defendants have not met their burden, and it seems very likely, based upon
                                                              9   the meet and confer process, that upon challenge by Plaintiff, Defendants will
                                                             10   continue to fail to meet their burden to establish that the amount in controversy
                                                             11   requirement is satisfied, because they cannot provide rational and reasonable
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                                                             12   support for the number of violations they assume occurred.                                  Federal Court
                                                             13   jurisdiction is limited, and federal judges guard the prerogatives of the states and
                                                             14   their court systems. As Defendants have failed and will fail to sufficiently prove
                                                             15   that the amount in controversy exceeds $5,000,000, Plaintiff respectfully requests
                                                             16   that this Court remand this case to the Superior Court of the County of Los
                                                             17   Angeles, where it belongs.
                                                             18   II.      STATEMENT OF FACTS
                                                             19             Plaintiff filed this action on February 24, 2021 in the California Superior
                                                             20   Court for the County of Los Angeles. (Dkt. No. 1, Exh. A.) Plaintiff’s Complaint
                                                             21   contained ten causes of action for (1) violation of California Labor Code §§ 510
                                                             22   and 1198 (unpaid overtime); (2) violation of California Labor Code §§ 226.7 and
                                                             23   512(a) (unpaid meal period premiums); (3) violation of California Labor Code §
                                                             24   226.7 (unpaid rest period premiums); (4) violation of California Labor Code §§
                                                             25   1194, 1197, and 1197.1 (unpaid minimum wages); (5) violation of California
                                                             26
                                                             27   2
                                                                   See Vasquez v. RSI Home Products, Inc., et al., C.D. Cal. Case No. 8:20-cv-01494-CJC-JDE; See also Hines v.
                                                                  Constellis Integrated Management Services, et al., C.D. Cal. Case No. 2:20-cv-06782-JWH-PLA.
                                                             28                                                          2

                                                                               PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND PURSUANT TO
                                                                          28 U.S.C. § 1447; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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                                                              1   Labor Code §§ 201 and 202 (final wages not timely paid); (6) violation of
                                                              2   California Labor Code § 204 (wages not timely paid during employment); (7)
                                                              3   violation of California Labor Code § 226(a) (non-compliant wage statements); (8)
                                                              4   violation of California Labor Code § 1174(d) (failure to keep requisite payroll
                                                              5   records); (9) violation of California Labor Code §§ 2800 and 2802 (unreimbursed
                                                              6   business expenses); and (10) violation of California Business & Professions Code
                                                              7   §§ 17200, et seq. The putative class is:
                                                              8         All current and former hourly-paid or non-exempt employees who worked
                                                              9         for any of the Defendants within the State of California at any time during
                                                             10         the period from four years preceding the filing of this Complaint to final
                                                             11         judgment and who reside in California.
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                                                             12         (Subclass A) All class members who were subject to Defendants’ practice of
                                                             13         rounding time recorded for compensation of regular and overtime wages.
                                                             14         (Subclass B) All class members who were subject to Defendants’ policy to
                                                             15         require its hourly paid or non-exempt employees to remain on the work
                                                             16         premises during rest breaks. (Dkt. No. 1, Exh. A, ¶ 15.)
                                                             17         Defendants removed this action on April 28, 2021. (Dkt. No. 1) On May 3,
                                                             18   2021, the Parties filed a joint Stipulation to Extend Defendants’ Deadline to File
                                                             19   Responsive Pleading Pending Motion to Remand (Dkt. No. 7.) Thereafter, on May
                                                             20   24, 2021, Plaintiff sent a letter to Defendants detailing Plaintiff’s reasoning for
                                                             21   contemplating a motion to remand. (Declaration of Jenay Younger in Support of
                                                             22   Plaintiff’s Motion to Remand Pursuant to 28 U.S.C. § 1447 [“Younger Decl.”] ¶ 2,
                                                             23   Exh. A.) Defendants responded to Plaintiff’s letter with an email explaining why
                                                             24   they contend a motion to remand is without merit, and Plaintiff indicated that it
                                                             25   was still necessary to bring this motion. (Younger Decl. ¶ 3, Exh. B.) Now Plaintiff
                                                             26   brings this motion to remand.
                                                             27   ///
                                                             28                                              3

                                                                             PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND PURSUANT TO
                                                                        28 U.S.C. § 1447; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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                                                              1   III.        LEGAL STANDARDS
                                                              2          A.    The Case Must Be Remanded if There is “Any Doubt”
                                                              3          A federal court may exercise removal jurisdiction over a case only if
                                                              4   jurisdiction existed over the suit as originally brought by the plaintiffs. (28 U.S.C.
                                                              5   § 1441.) A motion to remand lies where there is no diversity of citizenship, or the
                                                              6   claim does not in fact “arise under” federal law. Such defects go to the court's
                                                              7   subject matter jurisdiction and can be raised at any time. (International Primate
                                                              8   Protection League v. Administrators of Tulane Ed. Fund, 500 U.S. 72, 87 (1991);
                                                              9   see Bromwell v. Michigan Mut. Ins. Co., 115 F.3d 208, 213 (3rd Cir. 1997)
                                                             10   [remand required even where federal court previously dismissed identical
                                                             11   action].) “Federal jurisdiction must be rejected if there is any doubt as to the right
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                                                             12   of removal in the first instance.” (Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir.
                                                             13   1992); see also Duncan v. Stuetzle, 76 F.3d 1480, 1485 (9th Cir. 1996).) Courts
                                                             14   “strictly construe the removal statute against removal jurisdiction.” (Gaus, 980
                                                             15   F.2d at 566 (citing Boggs v. Lewis, 863 F.2d 662, 663 (9th Cir. 1988)); Takeda v.
                                                             16   Nw. Nat'l Life Ins. Co., 765 F.2d 815, 818 (9th Cir. 1985).) Diversity jurisdiction
                                                             17   is determined at the instant of removal. (Kenneth Rothschild Trust v. Morgan
                                                             18   Stanley Dean Witter, 199 F.Supp.2d 993, 1000 (C.D. Cal. 2002)).
                                                             19          B.    The Heavy Burden Defendants Must Meet to Justify Diversity
                                                             20          Jurisdiction
                                                             21          Upon the filing of a motion to remand, the party invoking the removal
                                                             22   statute bears the burden of establishing that federal jurisdiction exists. (Emrich v.
                                                             23   Touche Ross & Co., 846 F.2d 1190, 1195 (9th Cir. 1988)).
                                                             24           “Evidence establishing the amount [in controversy] is required where, as
                                                             25   here,” Defendants’ “assertion of the amount in controversy is contested by”
                                                             26   Plaintiffs. (Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, at 1197 (9th Cir. 2015)
                                                             27   (citing Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554
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                                                                              PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND PURSUANT TO
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                                                              1   (2014).) Defendants bear the burden of proving the propriety of federal court
                                                              2   jurisdiction by “a preponderance of the evidence.” (Rodriguez v. AT&T Mobility
                                                              3   Servs. LLC, 728 F. 3d 975, 977 (9th Cir. 2013).) A plaintiff need only challenge
                                                              4   the “rationality” (i.e., factual basis) of the defendant’s assertions. At that point the
                                                              5   Court decides, based on all evidence and argument, and applying the
                                                              6   preponderance of the evidence standard, whether Defendant’s assertions in the
                                                              7   notice of removal were reasonable. (Salter v. Quality Carriers, Inc. 974 F.3d 959,
                                                              8   963-64 (9th Cir. 2020).)
                                                              9         Under this burden, a defendant must provide evidence establishing that it is
                                                             10   ‘more likely than not’ that the amount in controversy exceeds that amount.”
                                                             11   (Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996).) In a
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                                                             12   removal jurisdictional dispute, the defendant has not only “the burden to put
                                                             13   forward evidence showing that the amount in controversy exceeds $5 million,” but
                                                             14   also the burden “to persuade the court that the estimate of damages in controversy
                                                             15   is a reasonable one.” (Ibarra, 775 F.3d at 1197.) Thus, a removing party “cannot
                                                             16   establish removal jurisdiction by mere speculation and conjecture, with
                                                             17   unreasonable assumptions.” (Id.)
                                                             18         C.     Only the Complaint and Summary Judgment Type Evidence May
                                                             19         Be Used to Prove the Amount in Controversy
                                                             20         In attempting to satisfy its burden, a defendant must offer nothing less than
                                                             21   competent evidence. (Gaus, 980 F.2d at 567.) To demonstrate the requisite amount
                                                             22   in controversy, parties may submit “summary-judgment-type evidence” relevant to
                                                             23   the amount in controversy at the time of removal.” (Singer v. State Farm Mut.
                                                             24   Auto. Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997).) It is well-settled in the Ninth
                                                             25   Circuit that “[a] speculative argument regarding the potential value of the [amount
                                                             26   in controversy] is insufficient.” (Mix v. Allstate Ins. Co., 2000 U.S. Dist. LEXIS
                                                             27   14260, *3 (C.D. Cal. Apr. 19, 2000) (quoting Conrad Associates v. Hartford
                                                             28                                              5

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                                                              1   Accident & Indemnity Co., 994 F. Supp. 1196, 1198 (N.D. Cal. F¶eb. 10, 1998));
                                                              2   see also Ibarra, 775 F.3d at 1197 (a defendant “cannot establish removal
                                                              3   jurisdiction by mere speculation and conjecture, with unreasonable assumptions”).)
                                                              4   IV.        THIS CASE MUST BE REMANDED UNDER THE ABOVE LAW
                                                              5         A.     Defendants Cannot Prove by a Preponderance of the Evidence
                                                              6         that the Amount in Controversy Exceeds $5 Million
                                                              7                1.    Defendants’ Calculation of Overtime and Minimum Wages
                                                              8                Claims are Unreasonable.
                                                              9         Defendants estimate that the amount in controversy for overtime and
                                                             10   minimum wages claims is $954,570.24. (Dkt. No. 1, ¶ 37.) These calculations are
                                                             11   likewise unreasonable and totally unsupported by any evidence.
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                                                             12         Defendants calculated this amount by “reasonably and conservatively”
                                                             13   estimating that each CSI PCM worked at least 12 minutes of unpaid overtime and
                                                             14   straight time every single day for four years. (Id. at ¶ 34-37.) Defendants provide
                                                             15   no supporting documentation to prove to the Court and Plaintiff that such a
                                                             16   “conservative” assumption is a reasonable let alone accurate representation of
                                                             17   Defendants’ employees’ typical overtime hours (or violations thereof for non-
                                                             18   payment).
                                                             19         Further, Defendants intentionally mischaracterize allegations in Plaintiff’s
                                                             20   Complaint. For example, Plaintiff states in her Complaint that she and other
                                                             21   putative class members “were required to work more than eight (8) hours per day
                                                             22   and/or forty (4) hours per week without overtime compensation for all overtime
                                                             23   hours worked.” (Dkt. No. 1, Exh. A, ¶ 39.) Defendants misconstrue this language
                                                             24   and contend that Plaintiff and the PCMs allege that they “worked more than eight
                                                             25   hours ‘per day’ during the four-year limitations period.” (Dkt. No. 1 ¶ 34.) This
                                                             26   intentional mischaracterization is not support for Defendants conjectured violation
                                                             27   rates. In fact, Plaintiff’s allegation that she and other putative class members were
                                                             28                                             6

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                                                              1   not paid overtime for all overtime hours worked indicates that Plaintiff is not
                                                              2   necessarily alleging that she never received overtime pay. Similarly, in stating that
                                                              3   Plaintiff and other putative class members worked more than eight (8) hours per
                                                              4   day and/or forty (4) hours per week, the words “per day” and “per week” are
                                                              5   simply added to state the basis for an overtime claim. Obviously, if Plaintiff and
                                                              6   the other putative class members worked more than eight hours over the span of
                                                              7   multiple days, or over forty hours over a span of multiple weeks, those
                                                              8   circumstances would not necessarily give rise to an overtime claim. This is just
                                                              9   one example of the unreasonableness of Defendants “calculations.”
                                                             10           Defendants do not cite to any documentary evidence – such as work
                                                             11   schedules, timecards, or complaints from an employee hotline – to establish the
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                                                             12   propriety of their assumed estimate. (They do not even cite to non-documentary
                                                             13   evidence.) Moreover, Defendants did not provide foundation in the form of any
                                                             14   information about the lengths of any of workdays during any of the purported
                                                             15   workweeks to justify their assumption that every CSI PCM worked long enough
                                                             16   shifts even to trigger overtime every single day for 95,610 days.3
                                                             17           Defendants’ failure to provide competent evidence is particularly
                                                             18   inexcusable because, as the employer, Defendants have ready access to the facts,
                                                             19   records, and information necessary to make the requisite showing under CAFA.
                                                             20   Courts in similar circumstances has found that a one- to three-hour estimates of
                                                             21   overtime hours worked per week was too speculative when not supported by any
                                                             22   evidence. (See e.g., Winfrey v. TIC - The Indus. Co., 2016 U.S. Dist. LEXIS 53067,
                                                             23   at *7-9 (C.D. Cal. Apr. 19, 2016) (finding Defendant’s estimated violation rate of
                                                             24   three hours of overtime per week too speculative despite plaintiff’s allegation of a
                                                             25   policy of wage abuse because Defendant had access to employment and payroll
                                                             26
                                                             27   3
                                                                   Defendants have not made clear exactly how many putative class members it contends are included in this
                                                                  aggregate number of workdays. (Dkt. No. 1, ¶ 29.)
                                                             28                                                          7

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                                                              1   records that would allow them to provide more accurate figures, “rather than mere
                                                              2   estimations.”); Ray v. Nordstrom, Inc., 2011 U.S. Dist. LEXIS 146657, at *8 (C.D.
                                                              3   Cal. Dec. 9, 2011) (allegation that defendant “failed to pay ‘all’ California hourly
                                                              4   employees at least some regular and overtime hours” did not support Defendant’s
                                                              5   estimate that each class member missed one hour of regular pay and one hour of
                                                              6   overtime pay per pay period); Nolan v. Kayo Oil Co., 2011 U.S Dist. LEXIS
                                                              7   72256, at      12 (N.D. Cal. Jul. 6, 2011) (“Simply assuming that every
                                                              8   employee…worked at least one hour of overtime a week, without some facts or
                                                              9   evidence to support these assumptions, is insufficient to meet Defendant’s
                                                             10   evidentiary burden.”); Vigil v. HMS Host USA, Inc., 2012 U.S. Dist. LEXIS
                                                             11   112928, at *15-16 (N.D. Cal. Aug. 10, 2012) (Defendant’s assumption that each
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                                                             12   class member worked one hour of overtime per week was unsupported by evidence
                                                             13   and unsupported by allegations in complaint, and did not rise to the legal certainty
                                                             14   standard).)
                                                             15         Defendants’ failure to introduce these data and documents is appears to be a
                                                             16   calculated strategy to invoke CAFA jurisdiction without providing any admissible
                                                             17   evidence regarding the validity of the putative class members’ claims – evidence
                                                             18   that obviously could later be used to expose Defendants’ liability in this case.
                                                             19   Defendants’ assumption-based estimates are far too speculative to rise to the level
                                                             20   of summary judgment type evidence. Defendants’ “calculations” are self-serving
                                                             21   and should be disregarded.
                                                             22                 2.   Defendants’ Calculation of Minimum Wages Claims is
                                                             23                 Unreasonable.
                                                             24         Although Defendants’ combine Plaintiff’s First and Fourth Causes of Action
                                                             25   for unpaid overtime and minimum wage claims to “calculate” an amount in
                                                             26   controversy of $954,570.24, Defendants further “calculate” and additional $200,
                                                             27   781 for liquidated damages for Plaintiff’s Fourth Cause of Action. Here again,
                                                             28                                            8

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                                                              1   Defendants assume that each CSI PCM worked 12 minutes of unpaid overtime
                                                              2   each of the 95,610 days. As stated above, this assumption is unreasonable.
                                                              3                3.    Defendants’ Calculations for Unpaid Meal and Rest Period
                                                              4                Premiums Are Baseless
                                                              5         Defendants estimate (i.e., assume) that each CSI PCM experienced at least
                                                              6   one meal break violation and at least one rest break violation per workweek during
                                                              7   the four-year period prior to service of the Complaint. (Dkt. No. 1, ¶ 44, 49.)
                                                              8   Defendants “calculate” that the amount in controversy for unpaid meal period
                                                              9   premiums is at least $636, 380.16 and the amount in controversy for unpaid rest
                                                             10   period premiums is at least $636,380.16 as well (Id. at ¶ 46, 51.) These calculations
                                                             11   are unsupported by any evidence whatsoever and are completely unreasonable.
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                                                             12         A defendant’s assumptions used to calculate an amount in controversy must
                                                             13   contain “some reasonable ground underlying them.” (Arias v. Residence Inn by
                                                             14   Marriot, 936 F.3d 920 (9th Cir. 2019) (citing Ibarra, 775 F.3d at 1199).)
                                                             15         Here, Defendants provide no such grounds upon which to base their claim.
                                                             16   Defendants assume one violation per workweek for each CSI PCM for meal
                                                             17   periods (Dkt. No. 1, ¶ 44.) Defendants also assume one violation per each
                                                             18   workweek for each CSI PCM for rest periods (Id. at 49.) Such violation rates are
                                                             19   objectively unreasonable assumptions. But moreover, the assumption of 8-hour
                                                             20   shifts that Plaintiff just made is, notably, an assumption charitable to Defendant. In
                                                             21   reality Defendants failed even to lay the foundation that all of the shifts the class
                                                             22   members worked were of sufficient length to mandate the provision of meal and
                                                             23   rest periods at all! Nowhere in their removing papers do Defendants even attempt
                                                             24   to address whether any of the putative class members were part-time employees
                                                             25   and/or not entitled to meal and rest periods due to the length of their shifts.
                                                             26   Defendants simply “calculated” that an undefined number of PCMs “worked an
                                                             27   average of 8.13 hours per workday for CSI[.]”
                                                             28                                             9

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                                                              1         In support of their assertions, Defendants fail to provide a single timecard,
                                                              2   paystub, wage statement, work schedule, or other documents to support the
                                                              3   propriety of their claimed meal and rest break violation rates.
                                                              4          Thus, Defendants’ representations as to the amounts in controversy for meal
                                                              5   and rest break premium pay are pure speculation, and must be rejected. (See
                                                              6   Ibarra, 775 F.3d at 1199 (finding that “a damages assessment may require a chain
                                                              7   of reasoning that includes assumptions. When that is so, those assumptions cannot
                                                              8   be pulled from thin air but need some reasonable ground underlying them.”).)
                                                              9         Defendants, again, mischaracterize Plaintiff’s allegation to form some basis
                                                             10   for their conjectured violation rates. Plaintiff’s Complaint states in relevant part:
                                                             11          “During the relevant time period, Plaintiff and the other class members who
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                                                                         were scheduled to work for a period of time in excess of six (6) hours were
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                                                             12          required to work for periods longer than five (5) hours without an
                                                             13          uninterrupted meal period of not less than thirty (30) minutes and/or rest
                                                                         period.” (Dkt. 1, Exh. A, ¶ 64.)
                                                             14          “During the relevant time period, Defendants intentionally and willfully
                                                             15          required Plaintiff and the other class members to work during meal periods
                                                                         and failed to compensate Plaintiff and the other class members the full meal
                                                             16          period premium for work performed during meal periods.” (Dkt. 1, Exh. A,
                                                             17          ¶ 65)
                                                                         “Pursuant to applicable IWC Wage Order and California Labor Code section
                                                             18          226.7(c), Plaintiff and the other class members are entitled to recover from
                                                             19          Defendants one additional hour of pay at the employee's regular rate of
                                                                         compensation for each work day that the meal or rest period is not
                                                             20          provided.” (Dkt. 1, Exh. A, ¶ 68.)
                                                             21   Defendants contend that these allegations make it reasonable for Defendants to
                                                             22   “assume that each of the CSI PCMs will claim to have not been provided nor paid
                                                             23   for at least one non-compliant meal break each day they worked during the four-
                                                             24   year period prior to service of the Complaint” and that calculating one violation per
                                                             25   week is therefore conservative. (Dkt. 1 ¶ 42-44.)
                                                             26         Defendants are mistaken. Just as with Plaintiff’s overtime claims, Plaintiff is
                                                             27   simply stating basis for her meal and rest period claims. Plaintiff’s Complaint may
                                                             28                                             10

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                                                              1   reasonably be interpreted to mean that there was only one violation ever or that the
                                                              2   violations occurred as Defendants suggest. However, that assumption cannot be
                                                              3   pulled out of “thin air.” (Ibarra, 775 F.3d at 1199.)
                                                              4         Courts in similar circumstances have found that an assumption of even one
                                                              5   meal and one rest period violation per week is too speculative when unsupported
                                                              6   by any evidence. (See Armstrong v. Ruan Transp. Corp., 2016 U.S. Dist. LEXIS
                                                              7   148460, at *14 (C.D. Cal. Oct. 25, 2016) (rejecting defendant’s assumption of one
                                                              8   meal and rest period violation per week because it failed to provide any factual
                                                              9   support for its assumptions); see also e.g., Smith v. Diamond Resorts Mgmt., 2016
                                                             10   U.S. Dist. LEXIS 11063, at *5 (C.D. Cal. Jan. 29, 2016); Weston v. Helmerich &
                                                             11   Payne Int’l Drilling Co., 2013 U.S. Dist. LEXIS 132930, at *17 (E.D. Cal. Sep. 16,
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                                                             12   2013); Ray v. Nordstrom, Inc., 2011 U.S. Dist. LEXIS 146657, at *9 (C.D. Cal.
                                                             13   Dec. 9, 2011); Ruby v. State Farm Gen. Ins. Co., 2010 U.S. Dist. LEXIS 88812, at
                                                             14   *11-12 (N.D. Cal. Aug. 4, 2010).)
                                                             15         In Armstrong, the court considered whether a defendant’s assumption of one
                                                             16   meal and rest period violation per workweek for every class member was properly
                                                             17   supported. (Armstrong v. Ruan Transp. Corp., 2016 U.S. Dist. LEXIS 148460, at
                                                             18   *9 (C.D. Cal. Oct. 25, 2016).) The court held that defendant “failed to sustain its
                                                             19   evidentiary burden for purposes of removal” because “Defendant did not present
                                                             20   any facts supporting its assumption,” but rather only provided “a declaration” that
                                                             21   set forth the number of class members, average number of workdays and work
                                                             22   hours, the frequency wage statements were issued, total hours worked, and other
                                                             23   general information. (Id. at *8-9.) That is precisely what Defendants have done
                                                             24   here. (See Dkt. No. 1 ¶ 3-4.)
                                                             25         The Armstrong court noted that “[n]owhere does [the declarant] address the
                                                             26   possible rate of meal- and rest-period violations, the number of complaints
                                                             27   Defendant received regarding the lack of meal and rest periods, Defendant’s policy
                                                             28                                             11

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                                                              1   addressing how meal and rest periods are scheduled, or anything else to provide
                                                              2   factual support for Defendant’s assumption of ‘one meal period and one rest period
                                                              3   violation per workweek’ for every class member.” (Armstrong v. Ruan Transp.
                                                              4   Corp., 2016 U.S. Dist. LEXIS 148460, at *9 (C.D. Cal. Oct. 25, 2016).) Further,
                                                              5   “[c]ase law supports the conclusion Defendant may not rely on statistical
                                                              6   assumptions to prove the amount-in-controversy requirement.” (Id. at *9.)
                                                              7         The Armstrong court also noted that taking complaint language that says
                                                              8   “Defendant failed to provide all the legally required unpaid, off-duty meal periods”
                                                              9   to mean that the complaint states that all meal periods were missed was
                                                             10   “mistat[ing] the claims in Plaintiff’s complaint.” (Id.) In Armstrong, the Defendant
                                                             11   attempted to use such language to claim that asserting “‘one meal and rest period
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                                                             12   violation per workweek’ is a ‘conservative estimate’ for [Defendant’s] exposure.”
                                                             13   (Id.) In holding that Defendant’s interpretation was misrepresenting Plaintiff’s
                                                             14   allegations, the court noted that such language “could also mean: (1) Defendant
                                                             15   denied one class member one meal and rest break once per year, (2) Defendant
                                                             16   denied a small group of class members one meal and rest period once a month . . .
                                                             17   Hence there is no logical basis for the Court to assume” that Defendant’s claim of
                                                             18   one meal- and one rest-period violation per employee per week is what is pled in
                                                             19   Plaintiff’s complaint.” (Id. at *7-8.) Accordingly, the court held that “[a]s the
                                                             20   employer, Defendant[s] ha[ve] access to employment and payroll records that
                                                             21   would allow [them] to provide more accurate figures, rather than mere
                                                             22   estimations,” and thus “Defendant failed to meet its burden by a preponderance of
                                                             23   the evidence.” (Id. at *13-14.) Here, Defendants fail to provide any evidence
                                                             24   regarding their calculations. Accordingly, Defendants’ meal and rest period
                                                             25   calculations must be disregarded.
                                                             26   ///
                                                             27   ///
                                                             28                                            12

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                                                              1                4.     Defendants’ Calculation of Waiting Time Penalties Is Inflated
                                                              2                and Unsupported.
                                                              3         Defendants assume that the amount in controversy for waiting time penalties
                                                              4   is at least $1,624,795.20. (Dkt. No. 1, ¶ 55.) Defendants allege that 199 employees
                                                              5   ended their employment with CSI between February 24, 2018 and March 29, 2021.
                                                              6   (Id., ¶ 54.) However, Defendants improperly assume maximum violations for all
                                                              7   of the 199 CSI PCM that ended their employment during this time. (Id.) This is
                                                              8   insufficient to confer federal jurisdiction. (Ibarra, 775 F.3d at 1197 (noting that a
                                                              9   defendant “cannot establish removal jurisdiction by mere speculation and
                                                             10   conjecture, with unreasonable assumptions”).) The Court should not rely on
                                                             11   Defendants’ calculation when their only support for this calculation is that it is
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                                                             12   theoretically possible.
                                                             13         Defendants provide no evidence that each of the 199 CSI PCMs worked
                                                             14   eight or more hours a day. Nevertheless, Defendants presume this is the case by
                                                             15   calculating eight (8) hours of wages for a maximum of 30 days. (Dkt. No. 1, ¶ 55.)
                                                             16   Moreover, Plaintiff’s complaint does not allege that Defendants failed to timely
                                                             17   pay each and every employee for the maximum time period of 30 days, but rather
                                                             18   states that Defendants failed to timely pay “Plaintiff and the other class members.”
                                                             19   (Dkt. No. 1, Exh. A, ¶86.)
                                                             20         Defendants maximum penalties approach to waiting time penalties was
                                                             21   rejected by the Ninth Circuit in Lowdermilk v. U.S. Bank Nat’l Ass’n, 479 F.3d 994
                                                             22   (9th Cir. 2007) (overruled on other grounds), and again in Garibay v. Archstone
                                                             23   Communities, LLC, 539 Fed. Appx. 763 (9th Cir. 2013). In Lowdermilk, Oregon
                                                             24   law permitted employees to recover a maximum of thirty days in penalty wages for
                                                             25   an employer’s failure to timely pay wages upon termination. (Lowdermilk, 479
                                                             26   F.3d at 1000.) The Court found that the defendant failed to meet its burden of proof
                                                             27
                                                             28                                            13

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                                                              1   that maximum penalties were appropriate, stating:4
                                                              2           Defendant assumes that all class members would be entitled to the
                                                              3           maximum damages… but provides no evidence to support this
                                                              4           assertion… Many employees may have been paid only a few days late
                                                              5           and, consequently, would be entitled to fewer days of penalty
                                                              6           wages… Again, absent more concrete evidence, it is nearly
                                                              7           impossible to estimate with any certainty the actual amount in
                                                              8           controversy.
                                                              9   (Id. (emphasis added).) Lower courts in the Central District have also rejected
                                                             10   Defendant’s maximum penalties calculations. (See, e.g., Beck v. Saint-Gobain
                                                             11   Containers, Inc., 2016 U.S. Dist. LEXIS 124285, at *30 (C.D. Cal. Sep. 12, 2016)
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                                                             12   (rejecting Defendant’s maximum waiting time penalties calculation because
                                                             13   defendant failed to submit any evidence to support its assumption); Cisneros v.
                                                             14   Lerner N.Y., Inc., 2016 U.S. Dist. LEXIS 98302, at *11-14 (C.D. Cal. July 25,
                                                             15   2016) (rejecting Defendant’s maximum waiting time penalties calculation because
                                                             16   Defendant failed to provide “evidence to suggest that Defendant failed to pay any
                                                             17   class member’s wages for a period of thirty days—let alone that they failed to does
                                                             18   so for every class member.”); Dupre v. GM, 2010 U.S. Dist. LEXIS 95049, at *11
                                                             19   (C.D. Cal. Aug. 27, 2010) (no basis for maximum penalties because defendant
                                                             20   failed to present evidence regarding the number of days it withheld wages or wage
                                                             21   statements).)
                                                             22           The Ninth Circuit’s reasoning in Lowdermilk applies here. Like the
                                                             23   defendant in those cases, here Defendants provided the number of CSI PCMs who
                                                             24   separated from their employment during a three-year period, and then assumed that
                                                             25   Defendants waited at least thirty days after separation to tender final payment of
                                                             26
                                                             27   4
                                                                    Even though the courts in Lowdermilk and Garibay applied a “legal certainty” standard, the reasoning is
                                                                  still applicable.
                                                             28                                                      14

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                                                              1   their wages. Defendants also assume that each of these putative class members are
                                                              2   entitled to eight (8) hours worth of penalties per day without establishing that all
                                                              3   CSI PCMs were full-time employees. Thus, Defendants provide no evidence at all
                                                              4   to support their assumption that these employees would be entitled to the
                                                              5   maximum amount of penalties. Accordingly, Defendants have failed to establish
                                                              6   by a preponderance of the evidence the amount in controversy for waiting time
                                                              7   penalties. As a result, Defendants’ waiting time penalties calculation, based as it is
                                                              8   entirely on assumptions, should be disregarded.
                                                              9                5.    Defendants’ Calculation for Wage Statement Violations is
                                                             10                Improper and Unsubstantiated.
                                                             11         Defendants assume that the amount in controversy for wage statement
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                                                             12   violations is $169,800. (Dkt. No. 1, ¶ 60). Defendants further assume that the
                                                             13   amount in controversy for Plaintiff’s claim for Failure to Keep Requisite Payroll
                                                             14   Records is $56,000. (Id. at ¶ 62.) Those assumed estimations are also
                                                             15   unsubstantiated.
                                                             16         Defendants do not provide support for the number (as stated, 112) of
                                                             17   employees during the one-year period or for the four-year period (as stated, 238).
                                                             18   Importantly, Defendants also present no evidence that every single wage statement
                                                             19   issued to these PCMs was non-compliant. (Id. at ¶59.) While it could be
                                                             20   appropriate to assume maximum penalties if there was evidence that every single
                                                             21   wage statement was deficient in some manner (e.g., lacking a category of
                                                             22   information such as an employee’s social security number or employee
                                                             23   identification number), there is no such evidence presented here by Defendants.
                                                             24         Defendants do not provide any support to suggest that every single wage
                                                             25   statement for every CSI PCM failed to state the accurate number of hours worked.
                                                             26   As such, Defendants have not submitted “summary-judgment-type evidence”
                                                             27   relevant to the amount in controversy, and do not meet their burden of proof that
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                                                                             PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND PURSUANT TO
                                                                        28 U.S.C. § 1447; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
                                                                                                CASE NO. 2:21-CV-03596-JWH(PLAX)
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                                                              1   maximum penalties are appropriate. (Singer, 116 F.3d at 377; Lowdermilk, 479
                                                              2   F.3d at 1000.) Instead, only unreasonable assumptions are proffered, which are not
                                                              3   enough to establish proper removal. (Ibarra, 775 F.3d at 1197.)
                                                              4         As a result, Defendants’ assumption-based wage statement penalty
                                                              5   calculations are implausible and should be disregarded.
                                                              6   V.     CONCLUSION
                                                              7         Defendants simply have not presented, and based on the meet and confer
                                                              8   process, have no plans to present, any evidence supporting the particular rates of
                                                              9   violation they have assumed occurred. They have not met their burden under
                                                             10   Ibarra and, therefore, this case should be remanded to the Los Angeles County
                                                             11
LAWYERS for JUSTICE, PC
                          410 West Arden Avenue, Suite 203




                                                                  Superior Court.
                              Glendale, California 91203




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                                                                  Dated: May 28, 2021                      LAWYERS for JUSTICE, PC
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                                                                                                           /s/ Jenay Younger
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                                                                                                           Jenay Younger
                                                             16                                            Attorneys for Plaintiff
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